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                           UNITED STATES DISTRICT COURT FOR THE EASTERN
                                                 DISTRICT OF MICHIGAN
                                               File Number 17-CV-10341

  CURTIS ETHERTON and
  CHAD FULLER,
                                Plaintiffs,
  v.
  SERVICE FIRST LOGISTICS, INC., a                                           NOTICE OF APPEAL
  michigan corporation, ROYCE
  NEUBAUER, an individual and JULIE
  JONES, an individual, jointly and severally,
                               Defendants.

          Notice is hereby given that Curtis Etherton and Chad Fuller, Plaintiffs in the

 above-named case, hereby appeal to the United States Court of Appeals for the Sixth

 Circuit from the District Court’s Opinion and Order (1) Granting Defendants’

 Motion for Summary Judgment and (2) Denying Plaintiffs’ Motion for Partial

 Summary Judgment [ECF #83] and Judgment [ECF #84] entered in this action on

 the 7th day of March, 2019.

                                                         Respectfully submitted,
                                                         VAN SUILICHEM & ASSOCIATES, P.C.

                                                         By: /s/Donald A. Van Suilichem
                                                         Donald A. Van Suilichem (P25632)
                                                         Attorneys for Plaintiffs
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 Dated: April 3, 2019                                    dvslawyer@dvsemploymentlaw.com

 651.001:DVS:PLS:42073-Notice of Intent to Appeal (4-2-19)
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                              CERTIFICATE OF SERVICE

        On April 3, 2019, I electronically filed Plaintiffs’ Notice of Intent to Appeal
 with the Clerk of the Court using the ECF system which will send notification of
 such filing to all attorneys of record.

                                                  s/Kelly A. Van Suilichem
                                                  Kelly A. Van Suilichem
                                                  40900 Woodward Avenue, Suite 111
                                                  Bloomfield Hills, MI 48304
